           Case 1:22-cv-00792-RP Document 26 Filed 08/14/23 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION


 ROBERT MAYFIELD; and                             Case No. 1:22-cv-00792-RP
 R.U.M. ENTERPRISES, INC.,

                        Plaintiffs,
 v.

 U.S. DEPARTMENT OF LABOR and
 MARTIN WALSH, in his official capacity
 as U.S. Secretary of Labor,

                       Defendants.


                   UNOPPOSED MOTION TO WITHDRAWAL
                      JOHN KERKHOFF AS COUNSEL

      Pursuant Local Rule AT-3, John F. Kerkhoff moves to withdrawal from this

case. In support of this motion, the Plaintiffs state:

      1.      Kerkhoff seeks to withdrawal from this case because he has accepted

              employment at another law firm.

      2.      Luke A. Wake and Erin Wilcox, of the Pacific Legal Foundation, are the

              successor attorneys on this case. Their office address is 555 Capitol Mall,

              Suite 1290, Sacramento, California 95814.

      3.      Wake and Wilcox have already made notices of appearance and will

              continue to represent Mr. Mayfield and R.U.M. Enterprises, Inc.




                                            1
  Case 1:22-cv-00792-RP Document 26 Filed 08/14/23 Page 2 of 3




DATED: August 14, 2023.

                                   Respectfully submitted,




                                   LUKE A. WAKE*
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                                   Attorneys for Plaintiffs




                               2
        Case 1:22-cv-00792-RP Document 26 Filed 08/14/23 Page 3 of 3




                         CERTIFICATE OF SERVICE

      I hereby certify that on August 14, 2023, I electronically filed the foregoing

with the Clerk of the Court for the United States District Court for the Western

District of Texas by using the appellate CM/ECF system.

                                         /s/ Luke A. Wake
                                         LUKE A. WAKE




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